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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

Edith Thompson,                                )       C/A No.: 2:21-cv-1967-BHH
                                               )
               Plaintiff,                      )       NOTICE OF REMOVAL
                                               )
       vs.                                     )
                                               )
Provident Life and Accident Insurance          )
Company,                                       )
                                               )
               Defendant.                      )
                                               )

       Defendant, Provident Life and Accident Insurance Company              Provident

pursuant to 28 U.S.C. § 1446, files this Notice of Removal and alleges:

       1.      Provident is the Defendant in an action entitled Edith Thompson v. Provident Life

and Accident Insurance Company, Civil Action No. 2021-CP-10-02236, which is now pending in

the Court of Common Pleas for Charleston County, State of South Carolina.

       2.      Provident was ser                                                         June 9, 2021.

       3.      At the time of the commencement of this action, Plaintiff was, and upon

information and belief, still is a citizen of the State of South Carolina.

       4.      At the time of the commencement of this action, Defendant was a corporation

organized and existing pursuant to the laws of a state other than the State of South Carolina, and

had its principal place of business in a state other than the State of South Carolina.

       5.      This action is of a civil nature and involves the laws of the United States,

specifically, the Employee Retirement Income Security Act of 1974 29 U.S.C. § 1001 et seq.

                        Harris Teeter, established and/or maintained voluntary life insurance

coverage with Provident for the benefit of                     employees as part of Harr


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                                               employee voluntary life coverage is attached hereto

                Harris Teeter established, maintained and endorsed the Provident coverage to its

employees. Harris Teeter endorsed the Provident coverage to its employees by negotiating and

approving plan terms (including final approval), working with the insurance broker to select the

specific insurance carrier for voluntary life benefits, assisting employees with overdue premium

payments, including working with Provident to allow employees in arrears to catch up on premium

deductions, discussing employee absences and overdue premium payments with Provident,

assisting with claims handling, selecting the effective policy date and coordinating the effective



broker to set up enrollment dates, times, and locations, providing pre-enrollment census

information (Date of Birth, Date of Hire, Employment Status, etc.) to Provident, maintaining a list

of covered employees and tracking employee eligibility status in payroll, approving eligibility and

enrollment decisions and marketing the Provident voluntary life coverage in conjunction with

other ERISA governed products and services.

       Because the Provident voluntary life coverage was part of an employee welfare benefit

plan, Plaintiff was a participant in the Plan, and Plaintiff is seeking to recover benefits under the




preemption clause whi

provisions of [ERISA] shall supersede any and all state laws insofar as they may now or hereafter

                                                                  see Metropolitan Life Insurance

Company v. Taylor, 481 U.S. 58, 107 S.Ct. 1542, 95 L.Ed.2d 55 (1987). The U.S. Supreme Court


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                                                                                      See E.G. FMC

Corporation v. Holiday, 498 U.S. 52, 58, 111 S.Ct. 403, 407-0




Shaw v. Delta Airlines, Inc., 463 U.S. 85, 96-97, 103 S.Ct. 2890, 2899-900, 77 L.Ed.2d 490 (1983).



                                                  Pilot Life v. Dedeaux, 489 U.S. 41, 107 S.Ct. 1549,



preempted by ERISA would be frivolous                                                          , 872

F.2d 80, 82 (4th Cir. 1989). Because the Plan is an employee welfare benefit plan under ERISA,

this action is one over which the District Court of the United States has original jurisdiction

pursuant to 28 U.S.C. §1331.

        6.      Alternatively, this action is of a civil nature and involves a controversy between

citizens of different states. The value of the matter in dispute exceeds the sum of $75,000.00,

exclusive of interest and costs as appears from allegations in the Complaint. This action is for the

recovery of life insurance benefits under a voluntary life insurance policy with Defendant. Plaintiff

alleges state law causes of action for breach of contract against Defendant and bad faith failure to

pay insurance benefits and for a declaratory judgment

contract cause of action,

be seen in the correspondence attached hereto as Exhibit C, there are $77,342.60 in life insurance

benefits at issue. Plaintiff further alleges entitlement to the recovery

damages for bad faith. Although Defendant in no way concedes that it acted in bad faith, punitive

damages may be available for a cause of action for bad faith failure to pay insurance benefits. See


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Nichols v. State Farm Mutual Auto Ins. Co., 279 S.C. 336, 306 S.E.2d 616 (1983); see also, Bell

v. Preferred Life Assurance Society

damages are recoverable under a complaint, each must be considered to the extent claimed in

                                       State Farm Mut. Auto. Ins. Co. v. Campbell, 123 5. Ct. 1513,

1520 (2003) ( upholding punitive damages up to four times actual damages and indicating that

punitive damages up to nine times actual damages may be appropriate in certain circumstances);

Mattison v. Wal-mart Stores, Inc., C/A No. 6:10-cv-017939-JMC, 2011 U.S. Dist. LEXIS 11634,

2011 WL 494395, at *3 (D.S.C. Feb. 4, 2011) (holding that even though Plaintiff's complaint does

not specify the exact amount of

damages alone, which are properly considered for purposes of determining the amount in

controversy makes it difficult for Plaintiff to prove she could not possibly recover the jurisdictional

limit were Plaintiff to prevail at trial) (citing Woodward v. Newcourt Comm. Fin. Corp., 60 F.



it virtually impossible to say that the claim is for less than the jurisdictional amount). This action

is one over which the District Court of the United States has original jurisdiction pursuant to 28

U.S.C. §1332.

       7.       Defendant files herewith as Exhibit A , copies of all process, pleadings, and

Orders received by Defendant.

       8.       Written notice of the filing of this Notice of Removal will be given to Plaintiff,

and together with a copy of the Notice of Removal and supporting papers, will be filed with the

Clerk of Court for Charleston County, State of South Carolina.




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                                      s/ Theodore D. Willard, Jr.
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                                      ATTORNEYS FOR DEFENDANT



July 1, 2021
Columbia, South Carolina




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